Case 2:22-cv-04688-GRB-ARL Document 5 Filed 08/15/22 Page 1 of 4 PageID #: 31



AO 440 (Rev. 06/12) Summons in a Civil Action
_____________________________________________________________________________________________________________________

                         UNITED STATES DISTRICT COURT
                                                     for the
                                          Eastern District of New York

DAWN CORRIGAN, CAITLIN CORRIGAN,                  )
and AMBER CORRIGAN                                )
_________________________________________________ )
              Plaintiff(s)                        )
                   v.                             )                     Civil Action No.      22-cv-04688-GRB-ARL
                                                  )
TOWN OF BROOKHAVEN, THERESA TREJO,                )
ED ROMAINE, and NEIL FOLEY                        )
                                                  )
_________________________________________________ )
              Defendant(s)                        )


                                      SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)           TOWN OF BROOKHAVEN
                                             Brookhaven Town Hall
                                             1 Independence Hill
                                             Farmingville, New York 11738

         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ.P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:

                                             Aaron C. DePass, Esq.
                                             Law Office of Aaron C. DePass
                                             300 Cadman Plaza West, 12th Floor
                                             Brooklyn, New York 11201
                                             Ph. (718) 775-5264

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                               %5(11$ %. 0$+21(<
                                                               CLERK OF COURT



          8/15/2022
Date: ______________                                            ________________________
                                                               ___________________________________
                                                               Signature
                                                                 gnature of Clerk or Deputy Clerk
Case 2:22-cv-04688-GRB-ARL Document 5 Filed 08/15/22 Page 2 of 4 PageID #: 32



AO 440 (Rev. 06/12) Summons in a Civil Action
_____________________________________________________________________________________________________________________

                         UNITED STATES DISTRICT COURT
                                                     for the
                                          Eastern District of New York

DAWN CORRIGAN, CAITLIN CORRIGAN,                  )
and AMBER CORRIGAN                                )
_________________________________________________ )
              Plaintiff(s)                        )
                   v.                             )                     Civil Action No.      22-cv-04688-GRB-ARL
                                                  )
TOWN OF BROOKHAVEN, THERESA TREJO,                )
ED ROMAINE, and NEIL FOLEY                        )
                                                  )
_________________________________________________ )
              Defendant(s)                        )


                                      SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)           7+(5(6$75(-2
                                             Brookhaven Town Hall
                                             1 Independence Hill
                                             Farmingville, New York 11738

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attorney, whose name and address are:

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                                             Law Office of Aaron C. DePass
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                                             Brooklyn, New York 11201
                                             Ph. (718) 775-5264

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                                                               CLERK OF COURT



            8/15/2022
Date: ______________                                              _______________________
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                                                               Signature
                                                                   ature of Clerk or Deputy Clerk
Case 2:22-cv-04688-GRB-ARL Document 5 Filed 08/15/22 Page 3 of 4 PageID #: 33



AO 440 (Rev. 06/12) Summons in a Civil Action
_____________________________________________________________________________________________________________________

                         UNITED STATES DISTRICT COURT
                                                     for the
                                          Eastern District of New York

DAWN CORRIGAN, CAITLIN CORRIGAN,                  )
and AMBER CORRIGAN                                )
_________________________________________________ )
              Plaintiff(s)                        )
                   v.                             )                     Civil Action No.     22-cv-04688-GRB-ARL
                                                  )
TOWN OF BROOKHAVEN, THERESA TREJO,                )
ED ROMAINE, and NEIL FOLEY                        )
                                                  )
_________________________________________________ )
              Defendant(s)                        )


                                      SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)           ('520$,1(
                                             Brookhaven Town Hall
                                             1 Independence Hill
                                             Farmingville, New York 11738

         A lawsuit has been filed against you.

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Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:

                                             Aaron C. DePass, Esq.
                                             Law Office of Aaron C. DePass
                                             300 Cadman Plaza West, 12th Floor
                                             Brooklyn, New York 11201
                                             Ph. (718) 775-5264

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complaint. You also must file your answer or motion with the court.



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                                                               CLERK OF COURT



             8/15/2022
Date: ______________                                               _______________________
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                                                                     ure of Clerk or Deputy Clerk
Case 2:22-cv-04688-GRB-ARL Document 5 Filed 08/15/22 Page 4 of 4 PageID #: 34



AO 440 (Rev. 06/12) Summons in a Civil Action
_____________________________________________________________________________________________________________________

                         UNITED STATES DISTRICT COURT
                                                     for the
                                          Eastern District of New York

DAWN CORRIGAN, CAITLIN CORRIGAN,                  )
and AMBER CORRIGAN                                )
_________________________________________________ )
              Plaintiff(s)                        )
                   v.                             )                     Civil Action No.      22-cv-04688-GRB-ARL
                                                  )
TOWN OF BROOKHAVEN, THERESA TREJO,                )
ED ROMAINE, and NEIL FOLEY                        )
                                                  )
_________________________________________________ )
              Defendant(s)                        )


                                      SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)           1(,/)2/(<
                                             Brookhaven Town Hall
                                             1 Independence Hill
                                             Farmingville, New York 11738

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                                             Law Office of Aaron C. DePass
                                             300 Cadman Plaza West, 12th Floor
                                             Brooklyn, New York 11201
                                             Ph. (718) 775-5264

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                                                               CLERK OF COURT



            8/15/2022
Date: _______________                                            ________________________
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                                                               Signature
                                                                   ature of Clerk or Deputy Clerk
